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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
FTB/MAA                                            271 Cadman Plaza East
F. #2015R00524                                     Brooklyn, New York 11201



                                                   June 28, 2023


By E-mail and ECF

The Honorable Pamela K. Chen
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:    United States v. Donal O’Sullivan
                     Criminal Docket No. 20-272 (PKC)

Dear Judge Chen:

              The government respectfully submits this letter in advance of the sentencing
hearing for defendant Donal O’Sullivan in the above-referenced case, which is scheduled for
June 30, 2023 at 11:30 a.m. As described below, following a three-week jury trial in October
2021, the defendant was convicted of eleven felony counts arising from his participation in a
years-long scheme to deprive union benefits funds of legally-required contributions owed by
the defendant’s company, Navillus Tile Inc. (d/b/a Navillus Contracting) (“Navillus”), a
prominent construction contractor based in New York City.

               The Presentence Investigation Report (the “PSR”) prepared by the U.S.
Probation Department (“Probation”), dated April 20, 2023, as amended by an Addendum
dated June 27, 2023 (the “Addendum”), calculates the defendant’s adjusted offense level
under the U.S. Sentencing Guidelines (“U.S.S.G.” or the “Guidelines”) as 27. This
calculation includes a two-level enhancement under U.S.S.G. § 2B1.1(b)(10) because the
offense involved sophisticated means and the defendant intentionally engaged in or caused
the conduct constituting sophisticated means, and a four-level enhancement under U.S.S.G.
§ 3B1.1(a), because of the defendant’s leadership role in the offense conduct.

              The government agrees with Probation that both enhancements are
appropriately applied. Accordingly, the government respectfully submits that the correct
adjusted offense level is 27, which, assuming a Criminal History Category of I, results in a
range of imprisonment under the Guidelines of 70-87 months.
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                The government respectfully requests that the Court impose a sentence that is
sufficient, but not greater than necessary, to serve the ends of justice. For the reasons set
forth below, the government submits that such a sentence should include a term of
incarceration.

   I.     Factual and Procedural Background

                Following a three-week jury trial before Your Honor, on October 22, 2021, the
defendant – who owned and was the President of Navillus, and who controlled its overall
operations – was convicted of all eleven counts with which he was charged in the indictment
returned on July 29, 2020. (See ECF Nos. 1, 262; PSR ¶ 11). Specifically, the defendant
was convicted of: conspiracy to commit mail and wire fraud, in violation of 18 U.S.C. § 1349
(Count One); wire fraud, in violation of 18 U.S.C. § 1343 (Counts Two through Four); mail
fraud, in violation of 18 U.S.C. § 1341 (Counts Five through Seven); conspiracy to embezzle
from employee benefits funds, in violation of 18 U.S.C. § 371 (Count Eight); embezzlement
from employee benefits funds, in violation of 18 U.S.C. § 664 (Count Nine); conspiracy to
file false remittance reports, in violation of 18 U.S.C. § 371 (Count Ten); and the submission
of false remittance reports, in violation of 18 U.S.C. § 1027 (Count Eleven). (See PSR ¶¶ 2-
8).

          A.      Relevant Offense Background

                As set forth in the PSR, during the relevant period, Navillus was one of the
largest construction firms in New York City and operated primarily as a masonry and
concrete subcontractor on large union construction projects. (See id. ¶ 11). Through the
Building Contractors Association, Inc. (the “BCA”), an employer association, as well as on
its own, Navillus entered into certain collective bargaining agreements (“CBAs”) with labor
union organizations, including the Bricklayers and Allied Craft Workers Local Union No. 1;
the New York City District Council of Carpenters; the Cement Masons Union; the Cement
and Concrete Workers District Council; the Mason Tenders District Council; the Pointers,
Cleaners and Caulkers; and the International Brotherhood of Teamsters Local 282
(collectively, the “Unions”). (See id. ¶ 12; Addendum at 2). The Unions each administered
funds – including health, pension, and annuity funds – for the benefit of their respective
members (the “Benefits Funds”). (See PSR ¶ 13). The Benefits Funds were subject to Title I
of the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001, a
federal law enacted to protect employee pension and welfare benefit plans such as the
Benefits Funds and their participants and beneficiaries by regulating reporting, record
keeping, disclosure and other matters affecting the operation of such plans. (See id.).

               Navillus, as a signatory to certain CBAs, was required to employ only union
members to perform work covered by the CBAs on construction projects located in New
York City and to make periodic contributions to the Benefits Funds for the union members
who performed covered work on those projects. (See id. ¶ 14; see also Addendum at 2).
Navillus, however, employed both union and non-union workers to perform covered work, in
violation of the CBAs to which it was a signatory. (See PSR ¶ 14). Under the terms of the


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applicable CBAs, to the extent Navillus employed non-union workers – notwithstanding that
it was not permitted to do so – Navillus was required to contribute to the Benefits Funds on
behalf of those non-union workers for the benefit of the Benefits Funds. (See id.). Pursuant
to the CBAs, Navillus’s required contributions to the Benefits Funds were based upon the
number of hours worked by each worker. (See id. ¶ 15). To ensure that the Benefits Funds
received Navillus’s required contributions under the CBAs, Navillus was required to file
periodic remittance reports with the Benefits Funds that detailed the number of hours worked
by each union and non-union worker. (See id.).

               As indicated above, during the period of the charged conduct, the defendant
was the owner and President of Navillus and controlled Navillus’s overall operations. (See
id. ¶ 11). The defendant’s co-defendants at trial, with whom he conspired as part of the
charged conduct, were Padraig Naughton, who was Navillus’s controller, and Helen
O’Sullivan, who worked in Navillus’s payroll department. (See id. ¶¶ 16-17; see also
Addendum at 2).

           B.      The Criminal Conspiracy

               As set forth in the PSR, between and including 2011 and 2017, the defendant
and his co-defendants conspired to execute – and executed – a scheme to evade making
certain contributions that Navillus was legally required to make to the Benefits Funds under
the CBAs (the “Payroll Scheme”). (See id. ¶ 21). In furtherance of the Payroll Scheme, the
defendant and his co-defendants paid certain Navillus employees (the “Designated
Employees”) with checks issued by DEM Consulting (d/b/a Allied) (“DEM,” “Allied” or
“DEM/Allied”).1 (See id. ¶ 22). The Designated Employees were paid with these checks
even though the Designated Employees had not performed any work for DEM/Allied and
had only worked for Navillus. (See id.). Neither Navillus, nor DEM/Allied, made
contributions to the Benefits Funds on behalf of the Designated Employees, nor submitted
remittance reports to the Benefits Funds as required. (See id.).

               Navillus financed the Payroll Scheme by sending funds to DEM/Allied on a
weekly basis, for years. (See id. ¶ 23). During the course of the scheme, the defendants sent
DEM/Allied over $7 million in Payroll Scheme funds. (See id.). The defendants also sent to
DEM/Allied payroll information for the Designated Employees, including their names, social
security numbers; IRS Forms W-4; the number of hours worked for Navillus; their wage
rates; and the amounts to be paid to them by DEM/Allied. (See id.). To conceal the criminal
scheme, Georgeanne Kelly,2 a DEM/Allied employee, submitted false DEM/Allied billing
invoices to Navillus to fraudulently make it appear that the Payroll Scheme funds were
payments for “masonry” and “consulting” work performed by DEM/Allied for Navillus.
(See id.). By engaging in this scheme, the defendant and his co-defendants evaded making

       1
                This entity is referenced in the PSR by the “Consulting Firm” pseudonym.
       2
                This individual is referenced in the PSR by the “Jane Doe” pseudonym.


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$1,214,976.65 in required contributions to the Benefits Funds. (See Mem. & Or.; June 26,
2023; ECF No. 383, at 1).

   II.     The Guidelines Calculation

               The government agrees with Probation that, pursuant to U.S.S.G. § 3D1.2(d),
the defendant’s crimes should be grouped for purposes of calculating the Guidelines offense
level. (See Addendum ¶ 40). The government further agrees that the operative Guideline for
determining the total offense level is U.S.S.G. § 2B1.1(a)(1), which provides for a base
offense level of 7, and that a two-level enhancement is appropriate under U.S.S.G.
§ 2B1.1(b)(10) because the crimes were committed using “sophisticated means” and a four-
level leadership enhancement is appropriate under U.S.S.G. § 3B1.1(a). (See id. ¶¶ 41, 43,
45). Pursuant to the Court’s Memorandum & Order dated June 26, 2023 (ECF No. 383), the
total amount of financial loss to the relevant Benefits Funds caused by the defendant’s
conduct is $1,214,976.65. That financial loss amount results in a 14-level enhancement
pursuant to U.S.S.G. § 2B1.1(b)(1)(H). (Addendum ¶ 42).

               Accordingly, the government agrees with Probation that the total adjusted
offense level – taking into account a base offense level of 7, a two-level sophisticated means
enhancement, a four-level leadership enhancement, and a 14-level financial loss
enhancement – is 27.

           A.      Sophisticated Means

                  With respect to sophisticated means, U.S.S.G. § 2B1.1(b)(10)(C) provides that
“[i]f . . . the offense . . . involved sophisticated means[,] and the defendant intentionally
engaged in or caused the conduct constituting sophisticated means, increase by 2 levels.”
Application Note 9(B) to section 2B1.1 explains that:

                “sophisticated means” means especially complex or especially
                intricate offense conduct pertaining to the execution or
                concealment of an offense. . . . Conduct such as hiding assets or
                transactions, or both, through the use of fictitious entities,
                corporate shells, or offshore financial accounts . . . ordinarily
                indicates sophisticated means.

                In this case, the trial evidence shows that the defendant and his co-conspirators
conspired to create a new “doing-business-as” or “d/b/a” entity called “Allied” that was
grafted onto Kieran Lambe’s existing business, DEM, for the purpose of enabling the
defendants to carry out the Payroll Scheme. (See Mem. & Or., Apr. 6, 2022, ECF No. 302,
at 6-9.) The defendant was complicit and participated directly in this process, including by
directing Padraig Naughton to arrange the operation of the scheme in such a way as to shield
the scheme through the use of DEM/Allied. (See id. at 32 (“[T]here was evidence that Donal
O’Sullivan directed and was involved in setting up Navillus’s relationship with Allied, for
the specific purpose of carrying out the fraudulent scheme.”).) The trial evidence makes
clear that it was the defendant’s idea to use DEM/Allied for this purpose, thereby directly

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implicating him in the conduct that made the scheme “sophisticated.” As the Court
observed, Navillus also issued approximately 115 checks to Allied to finance the scheme,
totaling approximately $2.9 million, that bore the signature of the defendant. This conduct –
the creation and use of Allied to shield the criminal scheme from scrutiny – falls squarely
within the language of the Application Note, which describes the use of a “fictitious entit[y]”
to “hid[e]” “transactions”; and the government submits that the enhancement plainly applies.

           B.      Leadership Role

                Section 3B1.1 of the Guidelines provides for a four-level enhancement for
defendants who function as “an organizer or leader of a criminal activity that involved five or
more participants or was otherwise extensive.” U.S.S.G. § 3B1.1(a). As noted above, the
defendant initiated the Payroll Scheme, and the evidence is clear that the others who
participated – including his co-defendants; Kieran Lambe and Georgeanne Kelly; and other
Navillus employees who transmitted weekly payroll sheets and collected fraudulent invoices
– did so at his direction. In addition, the defendant, as the owner of Navillus, had a direct
stake in the illicit proceeds generated by the Payroll Scheme, which went directly to the
financial benefit of his company. While the defendant may not have been heavily involved
in the day-to-day management of the Allied payroll process, the government submits that he
certainly exercised “decision making authority”; “recruit[ed] . . . accomplices”; had a “right
to a larger share of the fruits of the crime”; and maintained a “degree of control and authority
exercised over others.” See Application Note 4 to § 3B1.1. Under these circumstances, the
government agrees with Probation that the four-level role enhancement is appropriately
applied.

           C.      Total Offense Level

               If the Court applies these enhancements, in light of the Court’s June 26, 2023
order regarding the loss amount, the total adjusted offense level is 27. There is no dispute
that the defendant falls within Criminal History Category I, such that the advisory range of
imprisonment would be 70-87 months under the Guidelines.

   III.    The Appropriate Sentence

           A.      Legal Standard

              As the Court is aware, the Sentencing Guidelines are advisory, rather than
mandatory. See United States v. Booker, 543 U.S. 220, 258-60 (2005). However, the
Supreme Court held in Booker that sentencing courts must consider the Guidelines in
formulating an appropriate sentence. See id. In Gall v. United States, 552 U.S. 38 (2007),
the Supreme Court set forth the procedure for sentencing courts to follow in light of Booker:

                [A] district court should begin all sentencing proceedings by
                correctly calculating the applicable Guidelines range. As a
                matter of administration and to secure nationwide consistency,



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                the Guidelines should be the starting point and the initial
                benchmark.

Gall, 552 U.S. at 49 (citation omitted). Next, a district court should:

                consider all of the § 3553(a) factors to determine whether they
                support the sentence requested by a party. In so doing, [a
                district court] may not presume that the Guidelines range is
                reasonable. [A district court] must make an individualized
                assessment based on the facts presented.

Id. at 49-50 (citation and footnote omitted).

           B.      Discussion

               As a threshold matter, as the Court is aware, the government considers the
defendant’s conduct to constitute serious crimes, which caused harm to the victim Benefits
Funds. The Payroll Scheme – which was implemented at the defendant’s direction –
constituted a sustained and deliberate effort to deprive the Benefits Funds of monies that
should have gone to help workers pay for, among other things, their health insurance and
retirements. The Court determined that a loss amount of approximately $1.2 million is
appropriate for purposes of sentencing, which reflects a significant loss to the Benefits Funds
(and their beneficiaries). Moreover, the crimes of the defendant and his co-conspirators were
not ones of desperation undertaken to keep a struggling business afloat, but rather, were
crimes undertaken solely for the sake of greed, for the defendant’s own benefit.

               Although, to his credit, the defendant in his sentencing video takes
responsibility as the head of Navillus for the conduct at issue, the defendant has not
demonstrated remorse for his conduct. Instead, the defendant blames the government for
unfairly singling out him (and his co-defendants) for what he contends is essentially a
breach-of-contract civil dispute. The defendant’s attempts to minimize the seriousness and
criminal nature of his conduct are unavailing given the criminal statutes (duly enacted by
Congress) that criminalize the very conduct at issue here.

               The defendant’s approach underscores the need for a sentence that furthers
both specific and general deterrence. This is not a situation involving a bona fide dispute
over the terms of a particular CBA. The defendant and his co-conspirators deliberately and
painstakingly hid a portion of their payroll from the Benefits Funds for the sake of avoiding
contribution payments for a period of years. The trial evidence showed that when the
defendants wanted to contest a claim of covered hours by the Benefits Funds, they knew how
to do it. (See Gov’t Opp’n to Def. Post-Trial Mot., Dec. 22, 2021, ECF No. 278, at 41-42.)
Despite his claims otherwise, when the defendant set up the “weekly arrangement” with
DEM/Allied – deliberately bypassing Navillus’s own internal payroll department and the
clearly-understood requirement to report all payroll records to the Benefits Funds – he
simply was not acting in a good faith belief that his actions complied with the CBAs to


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which he himself was a signatory. (See Mem. & Or., Apr. 6, 2022, ECF No. 302, at 32).) As
the jury found, he was acting with criminal intent.

                In addition, and at the risk of giving the argument more credit than it deserves,
the defendant and his co-conspirators are far from the only individuals to be criminally
charged on the basis of this type of fraud. For example, in United States v. Lizza, et al., 19-
CR-548 (JS) (E.D.N.Y.), two defendants were indicted in this District (almost a year prior to
the return of the indictment in this case) on charges of, inter alia, embezzlement from
employee benefit plans, in violation of 18 U.S.C. § 664 and making false statements in
documents required by ERISA, in violation of 18 U.S.C. § 1027 – both of which are charged
here. See United States v. Lizza, 19-CR-548 (JS) (E.D.N.Y.), ECF No. 45 (Dec. 8, 2021).
As alleged in the Lizza indictment, the defendants schemed to defraud the International
Brotherhood of Teamsters, Local 282 (“Local 282”) benefits funds by arranging to split truck
drivers’ daily driving hours between one company’s union payroll and a second company’s
non-union payroll – both companies with which defendant Lizza was involved, the latter as a
partial owner and operator – in violation of the operative CBA. Id. at ¶¶ 3-4, 7. The first
(union) company submitted remittance reports to Local 282 that did not include certain
hours, such that the drivers were denied union wages and the Local 282 benefits funds were
denied contributions for those hours. See id. ¶ 8. Notably, following Judge Seybert’s
decision denying Lizza’s motion to dismiss, Lizza’s trial is scheduled to begin in October
2023. United States v. Lizza, 19-CR-548 (JS) (E.D.N.Y.), ECF No. 58 (Feb. 10, 2023).3
And, contrary to the defendant’s claim, such cases are far from unprecedented. See, e.g.,
United States v. Tripodi, et al., 11-CR-143 (ARR) (S-1) (E.D.N.Y.) (charging defendants
with, among other things, conspiracy and a substantive violation of 18 U.S.C. § 664 based on
a double-breasting scheme); United States v. LaBarbara, 129 F.3d 81 (2d Cir. 1997)

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               Moreover, the criminal case in Lizza was brought after a civil action was
commenced against the union company seeking to recover unpaid contributions and other
amounts due pursuant to the CBA and an order directing the company to submit remittance
reports and participate in an audit. See Gesualdi v. LR Safety Consultants & Constr. Servs.,
LLC, 19-CV-2404 (DRH), ECF No. 1 (Apr. 25, 2019). Following the indictment, the civil
plaintiffs amended their complaint to add Lizza and others as defendants seeking to recover
amounts due under the CBA, along with damages for common law fraud and ERISA fraud.
See Gesualdi v. LR Safety Consultants & Constr. Servs., LLC, 19-CV-2404 (DRH), ECF
No. 17 (Jan. 24, 2020). The civil case subsequently was stayed pending resolution of the
criminal case against Lizza. See Gesualdi v. LR Safety Consultants & Constr. Servs., LLC,
19-CV-2404 (DRH), 2020 WL 13178037 (E.D.N.Y. Oct. 9, 2020). This procedural history
undercuts the defendant’s suggestion that criminal cases involving a failure to make
remittances to union benefits funds are handled civilly, rather than criminally. See Def.
Mem. at 44.




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(affirming defendant’s conviction for, among other things, aiding and abetting a violation of
18 U.S.C. § 664); United States v. Panepinto, 818 F. Supp. 48 (1993) (decision denying
defendants’ motion to dismiss and for a bill of particulars, and summarizing allegations that
defendants devised a scheme to evade making contributions to union benefits funds as
required under the operative CBA, and charging defendants by indictment with, inter alia,
conspiring to embezzle assets of employee welfare benefits funds, in violation of 18 U.S.C.
§ 371; embezzling assets of employee welfare benefit funds, in violation of 18 U.S.C. § 664;
and making false statements in documents required by ERISA, in violation of 18 U.S.C.
§ 1027); cf. United States v. Syed, et al., 13-CR-424 (S-1) (BMC) (defendant Syed charged
with nine counts relating to his participation in a multi-year, multi-million dollar scheme
fraud involving, among other things, fraudulent bids to obtain contracts, fraudulent wage
reporting to the New York City School Construction Authority, and efforts to conceal the
scheme).

              The government acknowledges the existence of mitigating factors, including
the defendant’s long and admirable history of charitable works. The government submits,
however, that, on balance, those good deeds cannot make up for the brazen, methodical, and
long-running nature of the criminal scheme here, which resulted in the convictions of the
defendant and two others who acted at his direction, as well as harm to the Benefits Funds.
Under these circumstances, a term of incarceration is warranted.

   IV.     Forfeiture and Restitution

              The government is not seeking forfeiture.

              Given the crimes of conviction, restitution is mandatory under the Mandatory
Victims Restitution Act. As directed by the Court at the sentencing hearing for defendant
Padraig Naughton on June 27, 2023, the government will confer with the victim Benefits
Funds and file an update with the Court on the status of any restitution claims, as well as the
government’s position on the proposed structure of the restitution award, by July 18, 2023.




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                                          Conclusion

               For the reasons above, the government respectfully requests that the Court
impose a custodial sentence that is sufficient, but not greater than necessary, to serve the
ends of justice.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

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